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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:
                                                CHAPTER 11
 AMERICAN UNDERWRITING
 SERVICES, LLC.,                                CASE NO. 18-58406

       Debtor.


           APPLICATION TO APPROVE EMPLOYMENT OF CHIEF
          RESTRUCTURING OFFICER FOR DEBTOR-IN-POSSESSION

      American Underwriting Services, LLC, the debtor and debtor-in-possession in the

above-captioned case (“Debtor”) respectfully represents as follows:

                                          1.

      On May 18, 2018, Debtor filed a petition for relief under Chapter 11 of Title 11,

United States Code, 11U.S.C. §§ 101 et seq. No Trustee has been appointed and Debtor

continues to operate its business and manage its affairs as a debtor-in-possession in

accordance with 11 U.S.C. §§ 1107 and 1108.

                                          2.

      During the course of this case and in the continuation of Debtor’s business, Debtor

will require the retention of a Chief Restructuring Officer (“CRO”). Debtor wishes to

employ the Kevin Van de Grift, of the financial advisory firm of GGG Partners, LLC

(“GGG”), 3155 Roswell Road NW Suite 120 Atlanta, GA 30305, as its CRO.
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                                              3.

       Debtor has selected Mr. Van de Grift as its CRO because he has substantial expertise

and experience in operating businesses in financial distress and because Debtor finds him

to be well-qualified to perform the desired professional services.

                                              4.

       Mr. Van de Grift proposes to undertake the position of CRO of Debtor, pursuant to

the terms and conditions stated in the agreement which is attached as Exhibit A. GGG has

received a pre-petition retainer of $20,000.00 and Mr. Van de Grift’s hourly rate is $300.00

per hour.

                                              5.

       To the best of Debtor’s knowledge, and except as otherwise disclosed in this

Application, neither Mr. Van de Grift, GGG nor its members, managers, partners or

employees

            a. are directors, officers, partners, general partners, mangers, creditors, persons

               or entities in control of Debtor or related to a general partner, director officer

               or person in control of Debtor, except as disclosed herein;

            b. have any connection with Debtor, its creditors, any other party in interest,

               their respective attorneys or accountants, or the United States Trustee, or any

               person employed in the Office of the United States Trustee, except as

               disclosed herein; or
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             c. hold or represent any interests that are adverse to Debtor or the Estate.

         This Application seeks employment effective as of May 18, 2018. 1

         WHEREFORE, Debtor prays that it be authorized to retain Kevin Van de Grift as

Debtor’s CRO in this case.

         Respectfully submitted, this 18th day of May 2018.

                                                               SMALL HERRIN, LLP
                                                               Proposed Counsel for Debtor


                                                               By:      /s/ Gus H. Small
                                                                        Gus H. Small
                                                                        Georgia Bar No. 653200
                                                                        Anna M. Humnicky
                                                                        Georgia Bar No. 377850
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1
 While Debtor has filed this Application within 21 days of the Petition Date, Debtor shall not submit a proposed
order on the Application until the expiration of 21 days from the Petition Date pursuant to Fed. R. Bankr. P. 6002.
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            RULE 2014 VERIFICATION REGARDING APPLICATION TO
             APPROVE EMPLOYMENT OF CHIEF RESTRUCTURING
                    OFFICER FOR DEBTOR-IN-POSSESSION

      The undersigned makes the following solemn oath:

      (1)      I am a certified public accountant and shareholder in GGG Partners, LLC

(“GGG”) a financial advisory firm (“Applicant”).

      (2)      American Underwriting Services, LLC, the debtor and debtor-in-possession

referenced in the attached application (“Debtor”) seeks to employ Applicant as Debtor’s Chief

Restructuring Officer (“CRO”).

        (3)    To the best of my knowledge, and except as otherwise disclosed herein, neither

 Applicant, GGG, nor its shareholders, partners or other employees, for the two years prior to

 the date of this Verified Statement, were or are directors, officers, partners, general partners,

 mangers, creditors, persons or entities in control of Debtor or related to a general partner,

 director officer or person in control of Debtor; have any connection with Debtor, its creditors,

 any other party in interest, their respective attorneys or accountants, or the United States

 Trustee, or any person employed in the Office of the United States Trustee.

      (4)      Applicant has not agreed to share any compensation or reimbursement

 awarded in Debtor’s bankruptcy cases with any other person, except as disclosed herein.

      (5)      Applicant’s employment as CRO for Debtor is appropriate under 11 U.S.C.

 § 327 and Rule 2014, Fed. R. Bankr. P.
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       Pursuant to 28 U.S.C. § 1746, I do hereby declare under the penalty of perjury that

the statements contained in the foregoing statements are true and correct.



                                          By:       /s/ Kevin Van de Grift
                                                Kevin Van de Grift
                                                Shareholder, GGG Partners, LLC.
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                            EXHIBIT A
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